
USCA1 Opinion

	





                                [NOT FOR PUBLICATION]                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ____________________        No. 93-1984                                    UNITED STATES,                                      Appellee,                                          v.                                 MARLENE FAYE ROACH,                                Defendant, Appellant.                                 ____________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                              FOR THE DISTRICT OF MAINE                     [Hon. Morton A. Brody, U.S. District Judge]
                                            ___________________                                 ____________________                                        Before                        Cyr, Boudin and Stahl, Circuit Judges.
                                               ______________                                 ____________________            Marlene Faye Roach on brief pro se.
            __________________            Jay  P. McCloskey,  United  States Attorney,  Elizabeth  Woodcock,
            _________________                             ___________________        Assistant United States Attorney, and Margaret D. McGaughey, Assistant
                                              _____________________        United States Attorney, On Memorandum Of Law  In Support Of Motion for        Summary Disposition for appellee.                                 ____________________                                  November 29, 1994                                 ____________________



                 Per Curiam.  Appellant Marlene Faye Roach  was convicted
                 __________            after a jury  trial of two counts of  submitting false claims            for the reimbursement of travel expenses to the United States            Postal Service in  violation of 18 U.S.C.  287.   She appeals            pro  se from  her  conviction and  sentence  and raises  four
            ___  __            arguments.   First, appellant  says that  the district  court            erred in denying her motion to suppress certain incriminatory            statements that  she made to two postal inspectors during the            course  of  an  audit  of  the Athens,  Maine  post  office.1            Second, appellant  argues that  the district  court erred  in            admitting into  evidence photocopies of  the travel  vouchers            that  appellant used to support her claims for reimbursement.            Third,  appellant contends that  the district court  erred by            allowing  the testimony of  one of the  appellant's witnesses            (i.e.,  the Rangley postmaster) to be "influenced."  Finally,            appellant  says that she  has been denied  her constitutional            rights  to counsel,  due process,  and access to  the courts,            primarily because she was not allowed to proceed on appeal in
                                                                       __            forma pauperis (IFP).
            _____ ________                 At the outset we observe  that appellate review has been            somewhat hampered  because appellant failed to  secure copies            of   the  trial   transcripts.  "[I]t   is  the   appellant's            responsibility to ensure  that the record is  complete, i.e.,                                
            ____________________            1.  Prior  to her conviction,  appellant was employed  as the            postmaster of that office.                                         -2-



            that it contains  all papers necessary for  the determination            of the  issues presented  by the appeal."   Muniz  Ramirez v.
                                                        ______________            Puerto Rico  Fire Services,  757  F.2d 1357,  1358 (1st  Cir.
            __________________________            1985).    Nevertheless,  we  have  thoroughly  reviewed   the            parties' briefs and the record on appeal and  have considered            each of the appellant's claims  to the extent possible on the            record  before  us.     See  Valedon  Martinez   v.  Hospital
                                    ___  _________________       ________            Presbiteriano, 806 F.2d 1128, 1135  (1st Cir. 1986).  We find
            _____________            no merit in any of the appellant's contentions.                   The  transcript of the hearing on the motion to suppress            indicates that after appellant received the Miranda  warnings
                                                        _______            and signed a waiver of  her rights, appellant admitted to two            postal inspectors that she had submitted approximately $1000-            $1500  in false  travel claims  to the  Postal Service.   She            further explained that she had submitted the false claims due            to various personal problems that had plagued  her during the            past year.   On appeal, appellant argues that  her waiver was            not valid  because she did not realize that she was a suspect            when she  signed  the  form  waiving  her  rights.    Rather,            appellant  believed that  the  postal  inspectors  wanted  to            discuss shortages  that they  had  found in  the accounts  of            other  postal employees.    The  point has  no  merit.   "[A]            suspect's  awareness  of   all  the   possible  subjects   of            questioning  in advance of  interrogation is not  relevant to            determining whether  the suspect voluntarily,  knowingly, and                                         -3-



            intelligently   waived   his  Fifth   Amendment   privilege."            Colorado v. Spring, 479 U.S.  564, 577 (1987).  Moreover, the
            ________    ______            district court  found that appellant was not  in custody when            she made her  remarks, and appellant does  not challenge this            finding on  appeal.2   As appellant was  not in  custody, the            inspectors had no duty to  give her the Miranda warnings, and
                                                    _______            it further  was  not necessary  for  appellant to  waive  her            Miranda rights.   Appellant's attack  on the validity  of her
            _______            waiver therefore fails.3                    Appellant's contention that the district court  erred in            admitting  into  evidence  the  photocopies  of  the   travel            vouchers does not state a coherent basis for this  assignment            of error, save for noting that appellant used the photocopies            to  prepare her  income taxes.   "[I]ssues  adverted to  in a                                
            ____________________            2.  We  note that  appellant  does not  argue  on appeal  the            grounds that her counsel urged below in support of her motion            to  suppress, i.e.,  that appellant was  in custody  when she            made her incriminatory  remarks and that her  statements were            not  voluntary because appellant  was under the  influence of            prescription drugs when she  made them.  While  appellant has            effectively  waived  these  arguments,  we  have   thoroughly            reviewed the  transcript  of the  hearing  on the  motion  to            suppress  and are satisfied that the district court's rulings            are fully supported by the record.              3.  Appellant also contends that she is innocent and that her            statements  to the  postal inspectors  did  not constitute  a            "confession."     She   says   that  the   postal  inspectors            inaccurately recounted  her remarks.   Credibility  judgments            are for the jury to  make.  Roach's protestation of innocence            provides no basis  for setting the verdict aside.   Moreover,            as  this argument  was not  made  below, it  is not  properly            before us on  appeal.  See United  States v. Mendoza-Acevedo,
                                   ___ ______________    _______________            950 F.2d 1, 3 (1st Cir. 1991).                                         -4-



            perfunctory manner, unaccompanied by some effort at developed            argumentation, are deemed waived."  United States v. Zannino,
                                                _____________    _______            895  F.2d 1,  17  (1st  Cir.), cert.  denied,  494 U.S.  1082
                                           _____  ______            (1990).   Thus, we will  not review this claim.   Appellant's            claim  that the district court erred  by allowing the Rangley            postmaster's  testimony to  be influenced  is  wholly without            merit.  While review of this claim  is particularly difficult            without the  trial transcript,  we have  accepted appellant's            description  of the  evidence adduced  from  this witness  on            direct and cross-examination.  We discern nothing improper in            the prosecutor's  cross-examination or in  the trial  judge's            failure   to   stop  the   cross-examination.     Appellant's            conclusory  allegation  that  the Postal  Inspection  Service            improperly influenced this witness is specious.                 Finally,  we   note  that  the  district   court  denied            appellant's  motion to proceed IFP after determining that she            had sufficient  assets to hire an attorney and prosecute this            appeal herself.  We previously issued an order upholding this            ruling and  nothing in  appellant's brief  suggests that  our            ruling  was incorrect.  Roach's remaining arguments on appeal            are  equally meritless.   Accordingly,  the  judgment of  the            district court is affirmed. 
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